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AO 93 (Rev. 12/09) Search and Serzure Warrant (Page 2)
Return
Case No..' Date and time warrant executed: Copy of warrant a inventory left with:

 

 

2:18-MJ-805 L/ /6 /|§§ O7OO Co?\"'ti€ip@, {~@§{"

 

Inventorj) made in the presence ofC
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Inventory of the property taken and name of any person($) seized.

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
Seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, Specify the
number of pages to the attachment and any case number appearing thereon.]

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Certification (by officer present during the execution of the Warrant]

 

I declare under penalty of perjury that I arn an ojicer who executed this warrant ana' that this inventory is correct and
was returned along with the originair warrant to the designated judge through a filing with the Cierk’S Ojice.

Date.' L'/ /C> `~"':///-»7 ¢.//;M’4

 

Executing ojtcer s signature

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Printea‘ name a d xiii

 

 

 

AUSA: Tom Rybarczyk x8452

